Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page1of19

Pro Se | (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

Lisa |i | Son : District of A ylana

Division

(yeenbelr _
B.AW.P anor) case No Py 24CViodeo

(to be filled in by the Clerk’s Office)

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional

page with the full list of names.)

Haince choige’s, COUNTY Publio

|H201 Shoo! Lane, pper MAuboro, HD
(Write the full name of each wenden) is ND sued. ARIT 2 ?ev'd by: HE

names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page

with the full list of names.)

Jury Trial: (check one) [| Yes [Ano

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint

A. The Plaintiff(s) LISA WiLGON {or

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name BAW. —
Street Address (NM | \INOK (105 C ho pel DA le Koa
City and County Bowie P q COU po
State and Zip Code Mary land i f. _
Telephone Number Zl q AW 3 G19 x =
E-mail Address Zander blake 204@omail. Com

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (i/known). Attach additional pages if needed.

Page 1 of 5
Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page 2 of 19

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Defendant No. |

Name Millard 01S | |
Job or Title (if known) mend
Street Address IU2.0 | L I

" HOOF ceieal Lane.
City and County
State and Zip Code Me (V lana M017 2 Pg. ot

Telephone Number AQ) - q hH?- b000

E-mail Address (if known)

‘ome Tring @owmnan

labor Tite arin —--ASSOCIQHE Svperintengent 6 Al.)
Street Address (4201 Schoo opin

City and County — Dover anne pe ourny

Defendant No. 2

State and Zip Code OM 0} IV ae Apr :
Telephone Number — 2OE {H2- 600

E-mail Address 4ifhnown) 4+ninel I bowman @ pac ps. org 0

Defendant No. 3

Name Usd Whig htt

Job orTitle vino =—=s~EDI Cer oe Vision per ice
Street Address — (420 | “Choo! . -
City and County DO per Maw Pig he DO COUNTY
State and Zip Code WW) (Yy Q Ng d0TIZ
Telephone Number _ AD | — OD h Z- 6000

E-mail Address (if known) sa.wn / nt @ pocps.org

Defendant No. 4

Name MaHnew 9oencer : 4
Job or Title (if known) INSHL ACHING DELO Sr
Street Address (LH so) lO ne

City and County UDP CM Ait nt f 0D oo ee
State and Zip Code id “20112. ~ so
Telephone Number 59-b000

E-mail Address (if known) mOureN spencer @ PaCps. org

Page 2 of 5
t
Case 8:24-cv-01020-PX
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Document 1 Filed 04/08/24 Page 3of19

Defendant No. |
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

O1 LON

“T1201 © tal
ree oe

a.Qibbs @ EP OT

a S hfe Seda: SbbS

1a Farmer
rnp OF Whrenall Elemenary

D) re Nar tod County
— Maryland 20172 pot

~—— 3QI-952-€000
——Crarmer@ POCPS.0PY

Jacqueline Fou!
FOrMer Special educahON ReSOUMe
On A; wiih SChool dlannce+

Case 8:24-cv-01020-PX Documen i
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case ent1 Filed 04/08/24 Page 4 of 19

Defendant No. 1
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 2

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if known)

Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 4

Name

Job or Title (if known)

Street Address

City and County

State and Zip Code

Telephone Number
E-mail Address (if known)

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page5of19

I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
C1 Federal question Cl Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) , is a citizen of the

State of (name)

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

under the laws of the State of (name) ;

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual

The defendant, (name) KP) MarStp , is a citizen of

the State of (name) IV On . Orisa citizen of

(foreign nation)

Page 3 of 5
Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page 6 of 19

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of

another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

Federal question 1 Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitytion that
are at issue in this case. THe | | ulanon ADA 2g CER art BGAN)
EDEA THC 34 300.200 - 228

On .
Seton BH op |973 Rehabilitation Act

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. If the plaintiff is an individual

The plaintiff, (name) , 1S acitizen of the

State of (name) NN

b. If the plaintiff is a corporation : lp,
The plaintiff, (name) NOT ann Cho , is incorporated
rq

under the laws of the State of (name) ;

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s) -

a. If the defendant is an individual

The defendant, (name) Mi 0 Ol 4 50 | | as is a citizen of
the State of (name) MOY Ong . Oris a citizen of
v

(foreign nation)

Page 3 of 5
Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page 7 of 19

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case
CCC =

Ul. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the

parties. Under 28 U.S.C. § 133 1, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
(1 Federal question (1 Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

ly PE

B. If the Basis for Jurisdiction Is Diversity of Citizenship =” 3
1. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (name) , is acitizen of the
State of (name)
b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

ee

under the laws of the State of (name) ,

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

wm

The Defendant(s)

a. If the defendant is an individual

The defendant, (name) THANE! POW man > is a citizen of
the State of (name) _ Nor \I y . Oris a citizen of

(foreign nation)

Page 3 of 5
Pro Se | (Rev. 12/16) Complaint for a Civil Case
———_——

U.

Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page 8 of 19

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

(1 Federal question C1 Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A.

If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

If the Basis for Jurisdiction Is Diversity of Citizenship

1.

No

The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) , is a citizen of the
State of (name) .

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

ne

under the laws of the State of (name) 5

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

The Defendant(s)
a. If the defendant is an individual
The defendant, (name) (l 1 , is a citizen of

the State of (name) MANYIGNG = . Oris a citizen of

(foreign nation)

Page 3 of 5
Pro Se I (Rev. 12/16) Complaint for a Civil Case
CC

i.

Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page 9 of 19

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
(1 Federal question C1 Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

ee

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (name) , is acitizen of the
State of (name)
b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

under the laws of the State of (name) >

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)
a. If the defendant is an individual
The defendant, (name) Wittnew ncer , is a citizen of
the State of (name) MOY ON . Or is a citizen of
(foreign nation) : ‘ .

Page 3 of 5
Case 8:24-cv-01020-PX Documenti Filed 04/08/24 Page 10 of 19

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case
—_—————————— ae

Ul.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
(1 Federal question C1 Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. [f the plaintiff is an individual
The plaintiff, (name) , is a citizen of the
State of (name) :

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated
under the laws of the State of (name) ;

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual ib hS

The defendant, (name) NM 0S Q KO Sadia g citizen of
the State of (name) Ano _ Or is a citizen of

(foreign nation)

Page 3 of 5
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case
—————————

U.

Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page 11 of 19

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of

another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
(1 Federal question C) Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

eee a

B If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. [f the plaintiff is an individual
The plaintiff, (name) . , is a citizen of the
State of (name) :
b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

A

under the laws of the State of (name) ;

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual

The defendant, (name) Tobe Marn N) , is a citizen of

the State of (name) MN ht \ lan . Orisa citizen of

(foreign nation)

Page 3 of 5
Pro Se I (Rev. 12/16) Complaint for a Civil Case

Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page 12 of 19

Ul.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
(1 Federal question C1 Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

I

B. If the Basis for Jurisdiction Is Diversity of Citizenship

l. The Plaintiffs)
a. If the plaintiff is an individual
The plaintiff, (name) , is acitizen of the
State of (name)
b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

under the laws of the State of (name) >

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

fe The Defendant(s)
a. If the defendant is an individual
The defendant, (name) Famer , is a citizen of
the State of (name) nN) . Or is a citizen of

(foreign nation)

Page 3 of 5
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case
C—O an

i.

Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page 13 of 19

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the

parties. Under 28 US.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of

another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
(1 Federal question (1 Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

a

B If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) , is acitizen of the
State of (name) .

b. If the plaintiff is a corporation
The plaintiff, (name) — , is incorporated
under the laws of the State of (name) >

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)
a. If the defendant is an individual .
The defendant, (name) (iC (\ | U | , is a citizen of
the State of (name) iV (j /) . Or is a citizen of
LAN i

(foreign nation)

Page 3 of 5
Pro Se I (Rev. 12/16) Complaint for a Civil Case
—_—_————————

U.

Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page 14 of 19

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
(1 Federal question C1 Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a F ‘ederal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

B. If the Basis for Jurisdiction Is Diversity of Citizenship

l. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) , is a citizen of the
State of (name) .

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated
under the laws of the State Gand) — ;

sa 5: a

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

nN

The Defendant(s)

a. If the defendant is an individual ,
The defendant, (name)
the State of (name)

, is a citizen of
. Or is a citizen of

(foreign nation)

ee

Page 3 of 5
Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page 15 of 19

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

U.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
(1 Federal question C1 Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a F ederal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

a

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (name) , is a citizen of the
State of (name)
b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

under the laws of the State of (name) ,

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name)

My lips , is a citizen of

_ Or is a citizen of

the State of (name)

Be

a5

(foreign nation)

Page 3 of 5
Pro Se 1 (Rev. 12/16) COttpinnt Bra nacre O20-PX Document 1 Filed 04/08/24 Page 16 of 19

Il. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
(1 Federal question ©) Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

B. If the Basis for Jurisdiction Is Diversity of Citizenship

i. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) , is acitizen of the

State of (name)

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

under the laws of the State of (name) ;

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff)

2. The Defendant(s)
a. If the defendant is an individual :
The defendant, (name) mean Wa | K , is a citizen of
the State of (name) 1" OM . Orisa citizen of

(foreign nation)

Page 3 of 5
ase 8:24-cv-01020-PX Document1 Filed 04/08/24 Page17 of 19

Ca
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Til.

IV.

b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (name)
Or is incorporated under the laws of (foreign nation)

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and

br i 0 Y ch a Pon of eac Oh eed ina yal te paragraph. Attach additional i if Tay

aol OF edeéral AW FeSuLrIn
lect. ona Ce! SO obd angi (tion,

ts | me Ve+ECN (SION
ae Irene. Denial of AG aso tain 7dGtHd. Tenia

BSS -LH Adit Snort Aide ar records amr
“a5 que Pure rh ae SPeoVISION SENS

State briefly and ©. en nt damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are Bue to actual or

Con man eneatory
damages Of 200,000 NNUFOrE

tern ye Fer Fee onic nam wa

[e

re 3 a nant aS available

= rch at L

Case 8:24-cv-01020-PX Document1i Filed 04/08/24 Page 18 of 19

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: Api 8 2p pu BA-W.P

Signature of Plaintiff (i Mi Lip Mor a

Printed Name of Plaintiff

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm

Street Address

State and Zip Code

Telephone Number
E-mail Address

Page 5 of 5

Case 8:24-cv-01020-PX Document1 Filed 04/08/24 Page 19 of 19
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

omscions ADS IDI
Signature of Plaintiff ue WYNN for

Printed Name of Plaintiff im” Fy

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code

Telephone Number
E-mail Address

Page 5 of 5

